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                                IN THE UNITED STATES DISTRICT COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                        SAN ANGELO DIVISION

 DR. JAMES JONES,                       §
       Plaintiff,                       §
                                        §
 v.                                     §      CIVIL ACTION NO. 6:09-CV-65
                                        §
 ANGELO STATE UNIVERSITY,               §
       Defendant.                       §
_________________________________________________________________________________

                 DEFENDANT=S RULE 12(B)(1) AND 12(B)(6)
      MOTION FOR PARTIAL DISMISSAL FOR LACK OF JURISDICTION BASED
    UPON ELEVENTH AMENDMENT IMMUNITY AND FAILURE TO STATE A CLAIM
_________________________________________________________________________________

TO THE HONORABLE SAM CUMMINGS, UNITED STATES DISTRICT JUDGE:

          Defendant ANGELO STATE UNIVERSITY (“ASU” or “The University”), hereby files its Rule

12(b)(1) and 12(b)(6) Motion for Partial Dismissal for Lack of Jurisdiction Based Upon Eleventh

Amendment Immunity and Failure to State a Claim, and in support thereof would show this Court

the following:

                                                            I.
                                                      INTRODUCTION

          Plaintiff Dr. James Jones sued ASU on July 10, 2009, asserting a myriad of claims under

various federal and state constitutional and statutory provisions. Specifically, Jones sued ASU for:

          •    Religious discrimination under Title VII and Chapter 21 of the Texas Labor
               Code;
          •    Age discrimination under the ADEA and Chapter 21 of the Texas Labor Code;
          •    Religious discrimination under the First and Fourteenth Amendments to the U.S.
               Constitution;
          •    Free speech retaliation under the First and Fourteenth Amendments to the U.S.
               Constitution and Article 1, section 8 of the Texas Constitution;
          •    Substantive and procedural due process violations under the Fifth and Fourteenth
               Amendments to the U.S. Constitution and under the Texas Constitution;
Defendants’ Rule 12(b)(1) and 12(b)(6) Motion for Partial Dismissal for Lack of
Jurisdiction Based Upon Eleventh Amendment Immunity and Failure to State a Claim                       Page 1
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          •    Religious discrimination under the Religious Freedom Restoration Act, Chapter
               110 of the Texas Civil Practice and Remedies Code;
          •    Breach of contract;
          •    A declaration under the 28 U.S.C. §2201, that Defendant violated his
               constitutional and/or contractual rights.

          Angelo State University has been served with the lawsuit and now files this Motion to

Dismiss on the ground that most of Dr. Jones’ claims are barred by the doctrine of Eleventh

Amendment immunity, and because he has failed to state a claim upon which relief may be granted.

Accordingly, the University respectfully requests that the Court dismiss all of the enumerated claims

in Dr. Jones’ Original Complaint other than Dr. Jones’ claims under Title VII of the Civil Rights Act

of 1964, as amended.

                                                            II.
                                                    BRIEF IN SUPPORT

          As more fully set forth in their attached Brief in Support of Defendants’ Rule 12(b)(1) and

12(b)(6) Motion for Partial Dismissal for Lack of Jurisdiction Based Upon Eleventh Amendment

Immunity and Failure to State a Claim, ASU contends that all of Dr. Jones’ claims, except for his

claim for religious discrimination under Title VII of the Civil Rights Act of 1964, as amended, are

barred by the doctrine of Eleventh Amendment immunity. Further, ASU contends that Dr. Jones’

claims under 42 U.S.C. § 1983 and Article 1, section 8 of the Texas constitution are barred for

failure to state a valid claim.

                                                            III.
                                                        CONCLUSION

          FOR THE REASONS set forth in ASU’s attached Brief the University respectfully requests

that the Court dismiss Dr. Jones’ claims brought pursuant to the Texas Labor Code, the ADEA,




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Section 1983 (and the United States Constitution), Article 1, section 8 of the Texas Constitution, the

Religious Freedom Restoration Act, breach of contract, and the Federal Declaratory Judgment Act.

                                                                          Respectfully submitted,

                                                                          GREG ABBOTT
                                                                          Texas Attorney General

                                                                          KENT C. SULLIVAN
                                                                          First Assistant Attorney General

                                                                          DAVID S. MORALES
                                                                          Deputy Attorney General for Civil Litigation

                                                                          ROBERT B. O=KEEFE
                                                                          Chief, General Litigation Division



                                                                          /s/ Daniel C. Perkins
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                                                                          ATTORNEYS FOR DEFENDANT




Defendants’ Rule 12(b)(1) and 12(b)(6) Motion for Partial Dismissal for Lack of
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                                             CERTIFICATE OF SERVICE

       I certify that a copy of the above Defendants’ Rule 12(b)(1) and 12(b)(6) Motion for Partial
Dismissal for Lack of Jurisdiction Based Upon Eleventh Amendment Immunity and Failure to State
a Claim was served by the following manner, on the 27th day of July 2009, upon the following
individuals at the listed addresses:

                                                                              X    Via Email to stevehersh@sbcglobal.net
          Frank W. Hill                   fh@hillgilstrap.com                      Via Certified Mail Return Receipt Requested
          Frank Gilstrap                  fgilstrap@hillgilstrap.com
          Michael Y. Kim                  mkim@hillgilstrap.com                    Via Facsimile
          HILL GILSTRAP                                                       X    Via Regular Mail
          1400 W Abram St
          Arlington , TX 76013

          ATTORNEYS FOR PLAINTIFF




                                                                          /s/ Daniel C. Perkins
                                                                          DANIEL C. PERKINS
                                                                          Assistant Attorney General




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